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                               23-1940

            UNITED STATES COURT OF APPEALS
                 FOR THE SIXTH CIRCUIT
                       DENNIS SPEERLY, ET AL.,
                                                           Plaintiffs-Appellees,
                                  v.
                       GENERAL MOTORS LLC,
                                                       Defendant-Appellant.


        On Appeal from the United States District Court for the
                    Eastern District of Michigan

       BRIEF OF APPELLANT GENERAL MOTORS LLC

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          RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      General Motors LLC is wholly owned by General Motors Holdings LLC,

which is wholly owned General Motors Company, a publicly traded entity.

BlackRock, Inc. is a publicly held corporation that owns 10% or more of General

Motors Company’s stock. No other parent corporation or any other publicly held

corporation owns 10% or more of General Motors Company’s stock.




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             STATEMENT IN SUPPORT OF ORAL ARGUMENT

      As this Court observed, this lawsuit is an example of “increasingly common”

“automotive defect cases,” and General Motors LLC’s Rule 23(f) petition raises

“questions that have never been considered by this court and that are percolating in

the district courts of this circuit.” In re Gen. Motors LLC, Case No. 23-0104, R.20-

2 (6th Cir. Oct. 23, 2023); In re Nissan N. Am., Inc., Case No. 23-0501, R.24-2 (6th

Cir. Oct. 24, 2023). This Court thus granted immediate appeal of the Opinion,

finding that “more than one” of the “myriad issues” raised by GM has “arguable

merit and warrant further review.” In re Gen. Motors LLC, ECF No. 20-2. Given the

unsettled questions and significance of the issues to automobile and other “class

litigation in general,” GM respectfully requests oral argument. See id. (quoting In re

Delta Air Lines, 310 F.3d 953, 960 (6th Cir. 2002)).




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                                 INTRODUCTION

      The district court certified 26 statewide classes composed of 800,000+

members whose vehicles have what plaintiffs admit are two different, unrelated

types of alleged transmission defects, described vaguely as “shudder” and “shift

quality.” Those vehicles span 44 different make/model/model year combinations and

are equipped with transmissions that varied over time and across vehicles. Most class

members have not experienced any transmission problems at all. So plaintiffs

piggyback off those who made shudder or shift-quality complaints to speculate that

other uninjured class members might have a transmission problem under one or both

defect categories. They claim all 800,000+ class members overpaid at the time of

purchase—even though most of them had neither alleged defect, and their vehicles

performed exactly as expected.

      Certifying classes with hundreds of thousands of uninjured members violates

Article III’s standing (and many state laws’ manifest defect) requirements.

TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021); Johannessohn v. Polaris

Indus. Inc., 9 F.4th 981, 988 (8th Cir. 2021). But the district court sidestepped these

issues at the certification stage, instead suggesting it might use some undefined

“culling” procedure at some point in the future to address these issues. In doing so,

it shirked its “duty to actually decide” issues relevant to and dispositive of the




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certification determination. In re Ford Motor Co., 86 F.4th 723, 729 (6th Cir. 2023).

The Court should reverse class certification for this reason alone. Id.

      The district court also made other errors, any one of which alone requires

reversal, but together show no classes should have been or could be certified here.

Had the district court conducted the rigorous analysis and “qualitative[]

evaluat[ion]” required by Rule 23, Fox v. Saginaw Cnty., Mich., 67 F.4th 284, 300

(6th Cir. 2023), it would have reached the inescapable conclusion that uncommon

and individualized issues predominate. The district court instead ignored, deferred,

or removed individualized issues from the certification equation altogether, often

based on a mistaken distinction between “merits” and “class” issues. Amgen Inc. v.

Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 465 (2013).

      To start, plaintiffs’ “two distinct” alleged shudder and shift-quality defects

cover a broad spectrum of different issues that have different causes and occurrence

rates—tied to things like vehicle make and model, geography or climate issues, and

vehicle improvements over time that can mitigate (shift quality) or eliminate

(shudder) the issues altogether. Even the minority of purchasers who may have had

a transmission issue related to either alleged defect had their own individualized and

unique experiences that depend on countless variables, including driving habits,

consumer expectations, available repairs, and warranty coverage.




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      The district court did not assess the impact of the two-defect problem (and

other uncommon experiences) on the certification inquiry. That this assessment was

“all but absent” from the district court’s opinion is precisely the type of “surface-

level” approach this Court rejected as insufficient in another automobile class action

case also involving two claimed defects. In re Ford, 86 F. 4th at 728. The district

court also failed to resolve the impact of the different laws governing 59 claims

across 26 state classes. Deferring these questions does not comport with Rule 23’s

required “precision across the board.” Id. at 726. The failure to “forecast how the

parties will conduct the litigation from the certification stage through the trial to the

final judgment” also requires reversal. Fox, 67 F.4th at 302.

      Next, the district court accepted damages models that by design obscure the

many individual issues affecting vehicle prices, relying on averaged-based

aggregates that do not distinguish between (among other things) class members

whose vehicles have manifested the defect and those whose vehicles have not.

Plaintiffs’ expert admits his model awards damages to uninjured class members.

These damages models are rooted in overpayment theories that assume every class

member would have paid less had the alleged transmission defects been disclosed

(regardless of whether a defect manifested in their actual vehicles). But real-world

market data—along with the dozens of named plaintiffs who dropped out of this case

only to re-sell their vehicles at premium prices—show that highly publicized

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transmission-defect allegations did not reduce the price buyers are willing to pay for

class vehicles.

      Finally, some 40% of class members have arbitration agreements, which are

not off-the-shelf agreements included in every purchase. Their existence and terms

vary by each individual transaction. Evidence concerning who has arbitration

agreements, whether they are enforceable and in what circumstances, and who

decides that (arbitrator vs. the court) are uncommon. Rather than grapple with these

individual issues and differing facts, the district court held GM had waived its

arbitration rights at the pleadings stage against all proposed absent class members

before certification even though, as a matter of law, absent class members were

neither parties nor subject to the district court’s jurisdiction yet. That error

independently requires reversal.

                                    *     *      *

      In short, the district court’s opinion cannot be squared with the last decade of

class action jurisprudence in the Supreme Court and in this Court, including the

recent TransUnion and In re Ford opinions. The district court “enabl[ed] enormous

aggregation of claims and parties,” by failing to undertake the “rigorous analysis”

required before departing from the “constitutional tradition of individual litigation.”

In re Ford, 86 F.4th at 725-26. The certification order reflects a growing

proliferation of certification orders that force automobile and other manufacturers to

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decide between an exorbitant settlement (that primarily would “compensate”

hundreds of thousands or millions of consumers with no injuries or damages) and

the incalculable risk of a class trial. This appeal presents an opportunity to reset, to

guide the application of recent class action precedent, and to stem the influx of these

no-injury, no-manifested defect class actions.

      The Court should reverse the certification opinion in its entirety and hold none

of the claims may be certified here.

                       STATEMENT OF JURISDICTION

      Plaintiffs filed this action in the district court under 28 U.S.C.

§ 1332(d)(2)(A). This Court has jurisdiction under Rule 23(f) and 28 U.S.C. §

1292(e) because it granted GM’s timely petition for permission to appeal. Case No.

23-0104, R.20-2.

                         STATEMENT OF THE ISSUES

       1. Did the district court violate Article III standing requirements and many

state laws’ “manifest defect” rules (requiring a defect to manifest in plaintiffs’ own

products) by certifying classes composed of masses of absent class members who

never had any transmission problem?

      2. Did the district court err by failing to conduct Rule 23’s required rigorous

analysis because it did not qualitatively evaluate, but instead ignored or deferred




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resolution of, the predominant individualized issues until summary judgment or in

some later undefined “culling” procedure?

      3.     Did the district court err in allowing nationwide average-based

damages calculations to show classwide injury and damages even where plaintiffs’

own expert admits some class members have no damages at all, and where injury (if

any) and damages for others will vary by individual purchase and repair history?

      4.     Did the district court err by holding GM waived its right to arbitration

for 40% of absent class members before class certification and before they were

parties to the lawsuit?

                           STATEMENT OF THE CASE

      This case is about two different types of alleged transmission defects in dozens

of different vehicle make/model/model-year combinations—ranging from 2015

Silverado heavy-duty pickup trucks to 2019 Corvette two-seater sports cars. These

vehicles offer different experiences and are purchased by consumers with different

expectations. The district court amalgamated these different vehicles and defects,

along with the different experiences of 800,000+ purchasers, by certifying 59 claims

under the laws of 26 states. But most consumers never had any transmission

problem. Where there was an issue, it was often a fleeting, minor inconvenience,

was fixed for free under warranty, and/or had nothing to do with the transmission.




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      A.     The Record Shows Myriad Individualized And Uncommon Issues.

      Individualized facts and issues predominate in this case from start to finish.

             1.     Uncommon Defects.

      Plaintiffs identify “two distinct” alleged types of defects: (1) “shudder”

caused by a “defective automatic transmission fluid” and (2) “harsh shifts” caused

by a “poor transmission design.” Certification Motion, R.222, PageID.15374;

Transcript, R.272, PageID.20263-64. None of the named plaintiffs alleges they had

an accident, collision, or personal injury related to either alleged defect. And the

National Highway Traffic Safety Administration (NHTSA) has never initiated a

safety defect investigation for either issue, notwithstanding plaintiffs’ lawyers’

public allegations and press releases, media coverage, and other sources. Lange

Report, R.220-3, PageID.14468, 14473-74.

      The 26 statewide class were certified based on claimed shudder or shift-

quality defects. But plaintiffs argue the two alleged defects are distinct, and not “two

manifestations of a common problem.” Transcript, R.272, PageID.20263-64.

      Shudder is a vibration feeling that can be caused by many things having

nothing to do with transmissions (like tire imbalances). Plaintiffs allege the shudder

defect is a torque converter clutch (“TCC”) shudder. Goodrich Deposition, R.245-3,

PageID.16996-98; Radecki Deposition, R.245-6, PageID.17024-27. TCC shudder is

diagnosed by a qualified technician collecting test-drive data using a PicoScope


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accelerometer. Kuhn Report, R.178-15, PageID.7893. TCC shudder can be caused

by different things, including automatic transmission fluid (ATF) degradation.

Lange Report, R.220-3, PageID.14512-16; Goodrich Deposition, R.245-3,

PageID.17000-01.

      In January 2017, GM introduced a new ATF, which improved performance

but did not entirely resolve the issue for some class members. Goodrich Deposition,

R.245-3, PageID.16991-94; Gonzales Deposition, R.245-5, PageID.17017. In

March 2019, GM introduced a different ATF called “Mod1A” in new vehicles and

for warranty repairs. Lange Report, R.220-3, PageID.14432-33, 14467-71. Plaintiffs

agree Mod1A resolves any TCC shudder, excluding class vehicles manufactured

after March 1, 2019, and reducing damages for anyone who received Mod1A under

warranty. Certification Motion, R.222, PageID.15375, 15388-89.

      “Shift quality” is an umbrella term for a variety of concerns that manifest in

different forms and different circumstances, that have different root causes, and that

customers perceive differently. PX149, R.204-16, PageID.11767-68, 11779-83.

Each shift quality issue varies too, including: (i) what it is (described in terms like

“hesitation,” “lurch,” lunge,” and “jerk”); (ii) when it happens (some during

acceleration, others when braking, some during a morning “cold start”); (iii) how

consumers perceive it (e.g., whether they notice or are bothered); and (iv) whether

any transmission issue causes it (vs. engine conditions, speed, etc.). Complaint,

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R.41, PageID.2251; Lange Report, R.220-3, PageID.14418, 14474-75, 14497-511,

14602; PX149, R.204-16, PageID.11234-5, 11246-50.

      Throughout the class period, GM addressed various shift quality concerns

with different continuous transmission improvements, including targeted hardware

and software changes and service bulletins. Lange Report, R.220-3, PageID.14509;

PX149, R.204-16 PageID.11794-98; GM000046337, R.245-8, PageID.17060-67.

Shift-quality complaints substantially decreased in each successive model year.

PX149, R.204-1, PageID.11794.

             2.    Uncommon Consumer Experiences And Class Vehicles.

                   a.      Different Defect Manifestations.

      Most class members have never reported any transmission complaints.

Undisputed warranty data for model year (MY) 2015-2018 class vehicles show

nearly 90% have never made a shift quality claim; nearly 70% never registered a

shudder claim. Lange Report, R.220-3, PageID.14531-32. Even after combining two

different defect types (despite being different issues with different causes), most of

the class (more than 60%) never reported either issue. Id.

       The rate of any complaints is also highly variable, depending significantly on

(1) model (e.g., Corvettes 4% (shift) or 22% (shudder) vs. Escalades 30% (shift) or

22% (shudder)) and (2) model year (e.g., 36-month shift quality warranty rates rates

dropped from 10.6% for 2015 Corvettes to 1% for the 2019 Corvette). Id.,


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PageID.14531-33; Lange Appendix 6, R.245-16, PageID.17138-39. Geography

matters too, but this also depends on the alleged defect: shudder occurs less

frequently in low humidity states (e.g., 2.5% in Colorado). Lange Report, R.220-3,

PageID.14566-67; Wachs Report, R.182-1, PageID.8816.

                     b.      Different Causes Of “Transmission” Issues.

      Each named plaintiff claimed they personally experienced transmission

problems. But many “transmission” complaints turned out to be caused by tires, not

the transmission. Sinclair Repair Order, R.245-19, PageID.17434; McQuade Repair

Order,   R.245-20,        PageID.17436;   Filiaggi   Inspection    Report,    R.245-21,

PageID.17439-42; Drain Inspection Report, R.245-22, PageID.17444; Kuhn Report,

R.178-15, PageID.7898.

      Moreover, plaintiffs’ expert (Mark McVea) could not find transmission

problems in many plaintiffs’ vehicles—no shudder in 50% of vehicles (18 of 36), no

shift issues in 5 vehicles, and neither issue in several vehicles, including those of

plaintiffs Speerly, Ho, and Dykshorn. McVea Report, R.180-1, PageID.8399-400.

This was the case even though during vehicle inspections he intentionally tried to

induce transmission issues through atypical driving maneuvers intended to

“confuse” the transmission. Kuhn Report, R.178-15, PageID.7901-02; McVea

Deposition, R.178-12, PageID.7706-07. In other cases, what was thought to be

“harsh shifting” was, according to plaintiffs’ expert, an “adaptive shift/driving


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mode” “generally ‘to be expected from’” that vehicle. McVea Inspection Notes,

R.178-16, PageID.7925; Kuhn, R.178-15, PageID.7892.

                   c.      Different Consumer Perceptions And Experiences.

      Perceptions of shudder or shift quality issues depend on each driver’s

subjective perspective and preferences. Lange Report, R.220-3, PageID.14417,

14602; Sierchio Deposition, R.245-23, PageID.17450. For example, one plaintiff

testified he did not expect his Cadillac CT6 “to shift like a Silverado.” Weeks

Deposition, R.245-15, PageID.17126-27. But both Silverados and Cadillacs are

lumped together in the same classes.

      There is no common consumer description or understanding of “shudder”

even among named plaintiffs. Some had no shudder issues, even if they believe they

had a separate shift-quality problem. Ellard Deposition, R.245-31, PageID.17819-

21. Those reporting shudder described different circumstances and experiences. W.

Fredo Deposition, R.245-24, PageID.17456; Freeman Deposition, R.245-25,

PageID.17463;    Higgins     Deposition,    R.245-26,       PageID.17474;      Dykshorn

Deposition,    R.245-27,     PageID.17483;        Flowers     Deposition,      R.245-28,

PageID.17489; Banks Deposition, R.245-13, PageID.17107. One plaintiff described

it as vibrating less than an electric razor, explaining “somebody that doesn’t drive

the truck wouldn’t feel it if they didn’t know what they were looking for.” Speerly

Deposition, R.245-33, PageID.18442-43. Another testified he would not describe


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his vehicle vibration as a shudder, because it is “[n]ot to any degree more significant

than I think other vehicles vibrate.” Eatherton Dep., R.245-59, PageID.19160.

      The circumstances and type of shift-quality concerns are also highly

individualized. See Clark Deposition, R.245-31, PageID.17659-60 (“slip” and

“hesitating” sometimes together, other times separately); T. Coulson Deposition,

R.245-31, PageID.17698-99 (occasional “clunk” accelerating after stoplight);

Degrand Deposition, R.245-31, PageID.17725, 17727-28 (cold start issues if vehicle

not driven for several days; harsh downshift during “panic stop”); Ellard Deposition,

R.245-31, PageID.17818-19, 17823-24 (random harsh first-to-second gear upshift

but not downshift); Shift Quality Testimony, R.245-31, PageID.17500-18428.

      Ultimately, whether shudder or shift issues are even defects at all (as opposed

to normal vehicle functioning) or are bothersome to (or are even noticed by) class

members varies. Speerly Deposition, R.245-33, PageID18441 (“sensitive to noises”

and “tend[s] to notice thing that many other people don’t”); Lloyd Deposition,

R.245-32, PageID.18434-35 (similar).

                    d.     Different Repairs And Warranty Coverage.

      Automobiles are consumer goods with a limited expected useful life. As

vehicles age, some of their thousands of parts will wear or break, requiring repair or

replacement. This common-sense reality is reflected by limited warranties, in which

manufacturers agree to cover the costs of certain repairs for a period of time (e.g. 5


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or 6 years), but not after. E.g. Warranty, R.245-60, PageID.19202. Some consumers

even decide to purchase “extended warranties” from third parties, including to

protect from “potential defects.” Banks Deposition, R.245-52, PageID.18679. That

some aging vehicle parts will need repairs or replacements, or malfunction after

manufacturer warranties have expired, is part of the bargain as shown in the

warranties themselves.

      Between 2014 and 2020, GM released over 60 different free warranty repairs

(called Technical Service Bulletins (“TSBs”)) to address concerns related to shudder

or shift quality. Lange Report, R.220-3, PageID.14604-05. GM issued 39 TSBs for

shudder repair procedures ranging from a full torque converter replacement to a

Mod1A fluid flush. Id., PageID.14556-57. Around 24% of class vehicles received

fluid flush repairs while around 4% received torque converter replacements. Id. GM

issued 30 TSBs for shift issues, offering repairs ranging from replacement of the

control valve body to reprogramming the engine control module and transmission

control module (ECM/TCM). Id., PageID.14605.

      Multiple plaintiffs testified the Mod1A fluid flush resolved their shudder

issues. E.g., Higgins Deposition, R.245-31, PageID.17969 (vehicle “hasn’t done the

rumble strip routine since the second flush”); Ponder Deposition, R.245-31,

PageID.18140 (he “never felt [the shudder] again” after “repair of the torque

converted with the new transmission fluid”). Others reported their complaints had

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been “significantly reduced” or that their vehicle “rarely exhibits” any issues after

the fluid flush. McVea Appendix 1, R.180-1, PageID.8399-400.

      Still other plaintiffs refused free repairs under warranties for various reasons.

E.g., Sicura Deposition, R.245-10, PageID.17080 (“What I said was, under the

advice of counsel, to not let them make any repairs to the vehicle”); Ellard

Deposition, R.245-11, PageID.17087-92 (declining free replacement transmission

under warranty); Eatherton Deposition, R.245-12, PageID.17098-99 (declining

Mod1A fluid flush); Banks Deposition, R.245-13, PageID.17109-10 (refusing

repairs because “I was in the class action suit” and “wanted to preserve evidence”

and testifying he would not want a repair that “permanently resolved [his] issues”).

                   e.      Different Vehicles And Transmission Calibrations.

      The class vehicles include dozens of different vehicle/make/MY

combinations spanning seven distinct market segments that were equipped with 8-

speed transmission (8L45 and 8L90). Eichmann Report, R.179-2, PageID.8190-91,

Iyengar Report, R.170-5, PageID.5599. The transmission performance among class

vehicles differs because they are built on different platforms, contain different

engines, and have unique vehicle-level transmission calibrations for each specific

model/MY vehicle, which are tailored to each market segment’s preferences (e.g.,

sports car v. pickup trucks). Lange Report, R.220-3, PageID.14484-90.




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                   f.      Different Purchase Scenarios.

      Vehicle buyers care about different things and weigh vehicle attributes—e.g.,

make/model, engine size, drivetrain, fuel economy, interior—differently.1 Some

consumers value transmission performance; others do not think about it even if they

are aware of transmission issues.2 One named plaintiff traded in one class vehicle (a

2017 Colorado) for another class vehicle (2019 Colorado) despite asserting the first

vehicle “shook” so hard it “rattled your teeth.”3

      Buyers may choose the exact same vehicle but for different reasons. Compare

Sierchio Deposition, R.245-23, PageID.17450 (purchased 2016 Camaro because he

wanted a “bit more aggressive” “sports car” that did not “shift like a pickup truck”)

with Lloyd Deposition, R.245-32, PageID.18435; R.245-52, PageID.18774-75

(purchased 2016 Camaro because of “visual design,” “horsepower” and 2016 Motor

Trend Car of the Year Award). And specific colors or other options or trims can

influence some consumers’ vehicle selection and price. E.g., Lloyd Deposition,

R.245-32, PageID.18774-79 (color and interior); Sicura Deposition, R.245-52,



1
 Hitt Report, R.245-37, PageID.18473-75; Iyengar Report, R.170-5, PageID.5584-
85; Iyengar Schedule 1, R.245-38, PageID.18487; Eichmann Deposition, R.245-39,
PageID.18518-20.
2
  Hitt Report, R.245-37, PageID.18479-81; T. Coulson Deposition, R.245-40,
PageID.18536-37; K. Coulson Deposition, R.245-41, PageID.18545.
3
 Filiaggi Deposition, R.245-31, PageID.17858; Filiaggi Purchase Invoice, R. 245-
49, PageID.18666; Filiaggi Deposition, R.225-10, PageID.15977-78.
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PageID.18816-17 (“red paint,” upgraded interior, and Z51 options package); Weeks

Deposition, R.245-52, PageID.18848-49 (“absolutely incredible” sound system).

      Additionally, while new vehicles have a manufacturer suggested retail price

(MSRP), actual purchase prices differ significantly because of a multitude of

individual factors, including purchaser-dealer negotiations, trade-ins, options,

customer preferences, dealership-specific offers, and others. Hitt Report, R.245-37,

PageID.18474-75, -78, -82; Eichmann Deposition, R.245-39, PageID.18513, 18520.

      For example, price negotiations depend on variables among both buyers and

sellers. Some class members and sellers spent hours or days just negotiating price.

Weeks Deposition, R.245-52, PageID.18852-53; Butscha Deposition, R.245-52,

PageID.18699;    Degrand     Deposition,     R.245-52,   PageID.18715;       Dykshorn

Deposition, R.245-52, PageID.18731; Ellard Deposition, R.245-52, PageID.18749.

Some did not negotiate price at all for various reasons. Brack Deposition, R.245-52,

PageID.18688-89 (foregoing negotiation and an $11,000 rebate due to a manic

episode); Carroll Deposition, R.245-52, PageID.18705 (thought it was “the lowest

price that [the dealer] could do”); Eatherton Deposition, R.245-52, PageID.18736-

38 (dealer used “hassle-free pricing” “slightly lower” than other dealers); Flowers

Deposition, R.245-52, PageID.18753 (“I’m not familiar with the procedures of

purchasing automobiles. So I don’t negotiate. I don’t know why.”).

      These and other differing transaction scenarios are just some of the many

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uncommon facts which result in markedly different purchase prices paid by

consumers (including named plaintiffs) for the same vehicle. For instance, three

different plaintiffs paid $37,400, $49,299, and $45,526 for the same make and model

2017 GMC Sierra SLT truck. Hitt Report Ex. 7, R.245-51, PageID.18670-71.

      B.    Plaintiffs’ Experts Offer Opinions And Models That Obscure
            Individual Issues And Pay Damages To Uninjured Consumers

      Faced with countless individualized issues, plaintiffs offered expert opinions

from Dr. Alice Wachs (a statistician) and Richard Eichmann (an economist) who

used predictive statistics and modeled overpayment damages.

            1.     Dr. Wachs Predicts Future “Failure” Rates Based On An
                   Admittedly Incorrect Assumption Of A Single Defect.

      Dr. Wachs predicts future warranty claim rates in class vehicles will range

from 61-100% within 10 years, aggregated in each of the seven market segments.

Certification Motion, R.222, PageID.15378; Wachs Report, R.182-1, PageID.8784-

85, 8796. But Dr. Wachs assumes “that both shudder and harsh shift are symptoms”

of a single defect even though she counts shudder and shift quality as two claims if

in the same vehicle. Wachs Report, R.182-1, PageID.8793; Wachs Deposition,

R.182-2, PageID.8862, 8877.

      Plaintiffs relied on this “unitary common flaw” assumption to defeat GM’s

motion to exclude Dr. Wach’s opinions, Won v. Gen. Motors, LLC, 2022 WL

3010886, at *12-13 (E.D. Mich. July 28, 2022), but then abandoned it at the


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certification hearing three weeks later, where they pivoted to arguing there are “two

distinct defects.” Transcript, R.272, PageID.20263. See also Ray Report, R.175-10,

PageID.6431-36 (explaining that “patterns in the data” do not justify combinations);

PageID.6446-48 (discussing “variation of claim percentages”).

             2.    Eichmann’s Average-Based Aggregate Damages Admittedly
                   Would Compensate Uninjured Class Members.

      Eichmann calculates more than a billion dollars in classwide damages under

three models: (1) point-of-sale overpayment, (2) cost of repair; and (3) diminished

resale value (hedonic regression). Eichmann Report, R.179-2, PageID.8190-211. He

does not calculate actual damages for any named plaintiff or “any particular class

member”—just an “average…effect to the class.” Eichmann Deposition, R.245-39,

PageID.18514-15. He admits actual damages differ across and within the class

vehicle populations and could even be zero. Id.; Eichmann Report, R.179-2,

PageID.8190-211; Eichmann Schedules, R.206-2, PageID.12292-93, 12307. For

example, he admits an owner whose free warranty repairs resolved shudder and shift

quality issues “would not suffer any economic harm” under his cost-of-repair model.

Eichmann Deposition, R.245-39, PageID.18522. Nor can his models explain the

many named plaintiffs who dropped their claims—electing instead to sell their

vehicles at premium prices in the used car market. See e.g., R.245-53, PageID.18880,

18886 (Florida class member Duffy traded in vehicle with 120,000 miles for

$25,000); Orders, R.87, PageID.4149-50; R.103, PageID.4439-40; R.119,

                                         19
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PageID.4420-21; R.155, PageID.5390-91; R.234, PageID.16759; see also e.g.,

R.245-53, PageID.18880-86.

      But the district court certified the classes after accepting plaintiffs’ counsel

claim that damages can be determined for all class members using one of

Eichmann’s damages models “without having to do any further inquiry”—even

though Eichmann admits this would mean compensating consumers with no

economic injury at all. Transcript, R.272, PageID.20267-68, 20298.

      C.     The District Court Ignores Or Defers Resolution Of Predominance
             Issues, Finds GM Waived Arbitration Rights Against Those Who
             Were Not Parties To The Case, And Certifies 26 Statewide Classes.

      The district court certified every claim in every state for which plaintiffs

sought certification. Speerly v. Gen. Motors LLC, 343 F.R.D. 493, 526-30 (E.D.

Mich. 2023). It did so by finding that individual issues of standing, defect

manifestation, and damages (among others) were merits (not class) issues to resolve

later through summary judgment or a process by which it would “identify and cull”

all class members “who never had any problems with their vehicles or never sought

repairs.” Id. at 523-26. The district court did not further define this culling procedure,

explain how it would work, who would be the fact finder, or when it would occur.

      Finally, although the district court acknowledged “an unidentified but

substantial minority of absent class members” may be subject to arbitration

agreements, it held GM had “waived any right to compel arbitration.” Id.at 524. It


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thus never evaluated the impact of arbitration agreements on its Rule 23 analysis.

                       SUMMARY OF THE ARGUMENT

      I. The certification order violates Article III, which requires “[e]very class

member” to have “standing in order to recover individual damages,” TransUnion,

594 U.S. at 431, as well as the substantive law of at least twelve states that bar

economic loss claims where a defect did not manifest in an individual plaintiff’s own

product. It is undisputed that hundreds of thousands of absent class members have

not reported any transmission problem. Identifying the class members who

experienced what they believed to be transmission issues and whether they were

actually caused by the alleged defects would require significant, factually intensive

individualized inquiries. Plaintiffs nonetheless claim injury-in-fact and actual

damages under an overpayment theory that would compensate class members for a

risk of future problems. The Supreme Court rejected this end-run around Article III’s

concrete injury-in-fact requirement. Id. at 437. The district court’s suggestion that

an unspecified post-certification procedure could “cull” the majority of class

members who have not experienced any defect is not a solution, but instead

underscores the predominance problem here.

      II. The district court’s commonality and predominance analysis also reflects

multiple errors. The analysis is “infected” with a “surface-level approach” to

plaintiffs’ “two distinct theories of design defect.” In re Ford, 86 F.4th at 728. The


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district court did not rigorously analyze plaintiffs’ claims on a defect-by-defect basis,

nor rigorously analyze whether GM’s countervailing evidence “made a difference

as to each of plaintiffs’ theories.” Id. The certification opinion references only

plaintiffs’ briefed plaintiff-specific facts (and none of GM’s), and also cites

plaintiffs’ experts over 50 times on defect-related issues, but it includes only a single

reference to any GM expert.

      The district court also mistakenly focused on common questions without

rigorously analyzing the uncommon proof, uncommon answers, and uncommon

state-law requirements pervading this case. Proof of the existence and cause of a

defect, as well as efforts to obtain (and the adequacy of) repairs of either of the two

separate defect types is uncommon, individualized, and evolved throughout the class

period. As is evidence of reliance and causation, which in many states must be

proven on an individualized basis. Whether class members recouped any alleged

damage by reselling their vehicle (including at premium prices) is yet another

individual and uncommon issue the district court did not address.

      III. The district court’s reliance on plaintiffs’ experts to mask these

uncommon issues and show that all class members overpaid for their vehicles

because risks of transmission problems were not disclosed was also error. Plaintiffs’

experts’ damages models are based on the single-defect theory of liability that

plaintiffs have since abandoned; they thus are not “consistent with [plaintiffs’]

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liability case” as required under Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013).

And using average-based and aggregate damages model would admittedly (and

impermissibly) compensate even those with no damages and no injury, while also

abridging GM’s due process rights to defend against individual claims. See, e.g.,

Johannessohn, 9 F.4th at 986.

      IV. Approximately 40% or more of absent class members have arbitration

agreements. The existence of these agreements, their terms, and GM’s rights to seek

to enforce them under state law are not subject to common proof and cannot be

resolved on a classwide basis. Different class members signed different agreements

often with transaction-specific terms. But the district court failed to consider this

argument at all because it held GM had “waived any right to compel arbitration”

before any class was certified “by engaging in this litigation and seeking dispositive

rulings from the Court on plaintiffs’ claims.” Speerly, 343 F.R.D. at 524. But absent

class members were not parties, and GM thus could neither waive nor enforce its

arbitration rights against them before certification. The fact the arbitration terms—

and the circumstances in which each class member agreed to those terms—varies

across the class should have been an important and likely dispositive part of the

predominance analysis. The district court erred by not considering it at all.




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                             STANDARD OF REVIEW

      The Court reviews questions of Article III standing de novo, Schultz v. United

States, 529 F.3d 343, 349 (6th Cir. 2008), and gives “fresh review to any legal

interpretations” of Rule 23 and “abuse-of-discretion review to the district court’s

ultimate judgment whether to certify a class.” Tarrify Props., LLC v. Cuyahoga

Cnty., Ohio, 37 F.4th 1101, 1106 (6th Cir. 2022). A district court’s rigorous analysis

must resolve merits questions to the extent they are “relevant to determining whether

the Rule 23 prerequisites for class certification are satisfied.” Amgen Inc., 568 U.S.

at 465; accord Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). The duty

to “actually decide” questions of fact or law relevant to certification “is a crucial part

of avoiding the procedural unfairness to which class actions are uniquely

susceptible.” In re Ford Motor, 86 F.4th at 729 (quoting Brown v. Electrolux Home

Prods., Inc., 817 F.3d 1225, 1234 (11th Cir. 2016)). Failure to “weigh [defendant’s]

evidence” is an abuse of discretion. Id. at 728-29.

                                     ARGUMENT

I.    THE DISTRICT COURT ERRED BY CERTIFYING CLASSES
      COMPOSED OF COUNTLESS MEMBERS WHO NEVER HAD A
      TRANSMISSION DEFECT MANIFEST IN THEIR OWN VEHICLES.

      The district court erred by certifying classes based on two alleged

transmission defects even though most class members have never had any

transmission problems in their own vehicles—let alone problems caused by a

common classwide defect. Lange Report, R.220-3, PageID.14531-34. At most, some
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class members may be able to show some problem, but “[s]ome class members

cannot.” Johannessohn, 9 F.4th at 988. This presents a threshold problem under

Article III, many state laws, and is a fundamental bar to certification here.

      A.     The Order Violated Article III Standing Requirements.

      “Every class member must have Article III standing in order to recover

individual damages. Article III does not give federal courts the power to order relief

to any uninjured plaintiff, class action or not.” TransUnion, 594 U.S. at 431; see also

Johannessohn, 9 F.4th at 987 (“[A] class cannot be certified if it contains members

who lack standing.”).

      This Court has not yet squarely addressed whether each class member must

experience manifestation of a defect to establish an Article III injury-in-fact.4 But

other courts held even before TransUnion that it is “well established that purchasers

of an allegedly defective product have no legally recognizable claim where the

alleged defect has not manifested itself in the product they own.” O’Neil v.

Simplicity, Inc., 574 F.3d 501, 503 (8th Cir. 2009). That is, it “is not enough to allege

that a product line contains a defect or that a product is at risk for manifesting this

defect; rather, the plaintiffs must allege that their product actually exhibited the

alleged defect.” Id.; see also In re Polaris Mktg., Sales Pracs., & Prods. Liab. Litig.,


4
 This Court’s unpublished statement that “paying more” for a product because of a
misrepresentation “establishes a cognizable injury,” Loreto v. Procter & Gamble
Co., 515 F. App’x 576, 581 (6th Cir. 2013), predates TransUnion.
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9 F.4th793, 797 (8th Cir. 2021) (claiming a defect “can cause” damage is

insufficient).

      Plaintiffs cannot satisfy Article III with a benefit-of-the-bargain theory that

allows “purchasers without manifest defects…to piggyback on the injury caused to

those with manifest defect.” Johannessohn, 9 F.4th at 988 (rejecting standing based

on “inflated purchase price” “economic injury”). Purchasers of a product that “has

not exhibited the alleged defect” have “necessarily received the benefit of their

bargain” and lack “injury in fact.” Id.; see also In re Johnson & Johnson Talcum

Powder Prod. Mktg., Sales Pracs. & Liab. Litig., 903 F.3d 278, 288 (3d Cir. 2018)

(holding purchaser lacked standing where product provided bargained-for benefits).

      A class “cannot be certified” here because no class has “been defined in such

a way that anyone within it would have standing.” Johannessohn, 9 F.4th at 987.

This conclusion is mandated by TransUnion, which “marked a shift in the [Supreme]

Court’s standing jurisprudence.” Dinerstein v. Google, LLC, 73 F.4th 502, 516 (7th

Cir. 2023). TransUnion involved a credit agency’s inaccurate identification of 8,200

individuals as potential terrorists in their credit files. The agency actually

disseminated the incorrect information to potential creditors of only 25% of class

members. 594 U.S. at 419-20. In assessing standing, the Court drew a bright line

between that minority of class members who had suffered a “concrete injury in fact

under Article III,” and the other 75% who had only been exposed to the

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unmaterialized “risk of future harm.” Id. at 433. In holding the “mere risk of future

harm,” “cannot qualify as a concrete harm,” the Court agreed “time will eventually

reveal whether the risk materializes in the form of actual harm;” it is that “harm

itself, and not the pre-existing risk [that] will constitute a basis for the person’s injury

and for damages.” Id. at 436.

       The certification order here is irreconcilable with TransUnion. The purchase

of a vehicle with alleged defects posing a potential future risk of a problem is not a

concrete injury-in-fact for every purchaser. Unless and until the risk materializes,

the purchaser received what they bargained for, regardless of alleged

misrepresentations or omissions. See Johannessohn, 9 F.4th at 988.

       Moreover, if an alleged defect manifests within the 5- or 6-year warranty

period, many consumers could receive a free repair, consistent with their benefit of

the bargain. Equally important, vehicle warranties do not last forever. Thus,

enforcing Article III requirements is particularly important in the automotive context

because cars have both limited warranties and a limited useful life. Cars have many

thousands of parts, any one of which can malfunction, especially as they age. Under

the bargain between a manufacturer and a consumer, the manufacturer will pay for

a fix if a covered defect manifests during the warranty period, but not after the

warranty has expired. Certifying a class based on this overpayment-at-purchase

theory transforms a “limited” warranty into a “forever” warranty. But this is not an

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injury-in-fact, nor one that could be “fairly traceable” to GM’s alleged conduct and

that would be “redresse[d]” by plaintiffs’ proposed remedy. Uzuegbunam v.

Preczewski, 141 S.Ct. 792, 796 (2021).

      In short, plaintiffs’ overpayment theory improperly seeks to transform an

unmaterialized risk of some potential defect manifestation into a classwide point-of-

sale economic injury, creating a never-ending warranty. But “[s]tanding is not

dispensed in gross;” instead, “plaintiffs must demonstrate standing for each claim

that they press and for each form of relief they seek.” TransUnion, 594 U.S. at 431.

“[A] plaintiff seeking money damages has standing to sue in federal court only for

harms that have in fact materialized.” Pierre v. Midland Credit Mgmt., Inc., 29 F.4th

934, 938 (7th Cir. 2022) (citing TransUnion). “No concrete harm, no standing.”

TransUnion, 594 U.S. at 442.

      The Court should reverse the certification order in its entirety.

      B.     The District Court Erred By Certifying Classes Under State Laws
             Requiring That A Defect Manifest In Plaintiff’s Own Product.

      Certifying classes including those with unmaterialized injury also violates the

laws of states that follow the “manifest defect” rule, which bars economic claims

where an alleged defect has not actually manifested in the plaintiff’s own product.

      Defect manifestation is required for certain certified claims under at least 12




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states laws, including: Alabama DTPA; Arkansas DTPA;5 Delaware CFA; Florida

DUTPA; all Illinois claims; all Maine claims; all Minnesota claims; all New Jersey

claims; all New York claims; Oklahoma claims; South Carolina breach of implied

warranty; all Texas claims; and Wisconsin DTPA.6

      In those states that follow the manifest defect rule, whether a class member

has experienced a shudder and/or a harsh shift in their vehicle is an inherently

individualized substantive issue “that will control the outcome” of their case.

Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460, 468

(6th Cir. 2017). Because defect manifestation cannot be established with the “same


5
 Arkansas law changed during the class period. Before August 1, 2017, an ADPTA
claim required defect manifestation. Wallis v. Ford Motor Co., 208 S.W.3d 153, 161
(Ark. 2005); Ark. Code Ann. § 4-88-102.
6
 Weidman v. Ford Motor Co., 2022 WL 1071289, at *14 (E.D. Mich. Apr. 8, 2022)
(Alabama DTPA, Florida DUTPA, and Texas DTPA); O’Neil, 574 F.3d at 505
(Minnesota CFA, implied warranty, and express warranty claims); In re Gen. Motors
Air Conditioning Mktg. & Sales Pracs. Litig., 406 F. Supp. 3d 618, 649 (E.D. Mich.
2019) (NJCFA); Siqueiros v. Gen. Motors LLC, 2021 WL 2115400, at *5 (N.D. Cal.
May 25, 2021) (Arkansas DTPA); In re Gen. Motors LLC Ignition Switch Litig., 257
F. Supp. 3d 372, 429, 451 (S.D.N.Y. 2017) (New York law and Texas DTPA);
Carlson v. Gen. Motors Corp., 883 F.2d 287, 298 (4th Cir. 1989) (South Carolina
implied warranty); Dalton v. Ford Motor Co., 2002 WL 338081, at *6 (Del. Super.
Ct. Feb. 28, 2002); Berry v. City of Chicago, 181 N.E. 3d 679 (Ill. 2020); Poulin v.
Thomas Agency, 746 F. Supp. 2d 200, 206 (D. Me. 2010); Mazerolle v.
DaimlerChrysler Corp., 2002 WL 31367215, at *3 (Me. Super. Sept. 20, 2002); In
re Gen. Motors LLC Ignition Switch Litig., 2016 WL 3920353, at *36 (S.D.N.Y.
July 15, 2016) (Oklahoma); Dinwiddie v. Suzuki Motor of Am., Inc., 111 F. Supp. 3d
1202, 1209 (W.D. Okla. 2015); Frank v. DaimlerChrysler Corp., 741 N.Y.S.2d 9,
12 (N.Y. App. Div. 2002); Tietsworth v. Harley-Davidson, Inc., 677 N.W.2d 233,
245 (Wis. 2004).
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evidence . . . for each member,” the manifest defect rule precludes certification.

Id.(quotation and citation omitted); see also Weidman, 2022 WL 1071289, at *14

(denying Rule 23(b)(3) certification under Alabama DTPA, Florida DUTPA, and

Texas DTPA), vacated on other grounds sub. nom In re Ford, 86 F.4th 723;

Sonneveldt v. Mazda Motor of Am., Inc., 2023 WL 1812157, at *5 (C.D. Cal. Jan.

25, 2023) (decertifying Texas DTPA class); Siqueiros v. Gen. Motors LLC, 2021

WL 4061708, at *6-7 (N.D. Cal. Sept. 7, 2021) (decertifying Texas warranty class);

In re Canon Cameras, 237 F.R.D. 357, 360 (S.D.N.Y. 2006) (denying certification

of NYGBL § 349 class).

      The district court cited In re Whirlpool Corp. Front-Loading Washer Prod.

Liab. Litig., 722 F.3d 838, 855 (6th Cir. 2013), and Wolin v. Jaguar Land Rover

North Am., 617 F.3d 1168 (9th Cir. 2010), to find the manifest defect rule does not

preclude certification. But Whirlpool affirmed certification under Ohio law, which

is not at issue here. 722 F.3d at 857. And Wolin was decided before the Supreme

Court decisions in Wal-Mart and Amgen (and their progeny) made clear that merits

questions should be considered at certification if “they are relevant to determining

whether the Rule 23 prerequisites for class certification are satisfied.” Amgen Inc.,

568 U.S. at 466 (2013); accord Wal-Mart, 564 U.S. at 351.

      The Court should reverse certification of claims requiring a manifested defect.




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      C.     The Manifest Defect Problem Highlights The Incurable
             Predominance Issues That The District Court Failed To Address.

      The manifest defect problem also exposes a raft of individualized issues,

including which class members had a transmission problem, whether such problems

were caused by any transmission defect (and if so which one), and whether state

laws require manifestation to recover under the claims advanced here.

      First, it is not enough to count on a later unspecified plan to exclude or award

no damages to those who have not experienced either alleged defect. Identifying

who did or did not have a transmission problem at all (let alone one traceable to

either alleged defect, as required by Article III) would require tens or hundreds of

thousands of mini-trials for individual vehicle owners. See Tarrify, 37 F.4th at 1106

(affirming certification denial where “identification of proposed members of the

class...haunts every consideration”).

      As explained above, there are many potential causes for what consumers may

perceive or report as transmission-related issues. Determining whether these

“transmission” problems are related to alleged shudder or shift-quality defects (or

any transmission issue at all) requires professional testing—as evidenced by the

findings of plaintiffs’ own expert who could not diagnose shudder and/or shift-

quality issues in many of the named plaintiffs’ own vehicles. See Statement of the

Case § A.2.b; Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 604 (3d Cir. 2012)

(reversing certification where “individual examination” of tires was needed because

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“[e]ven ‘defective’ tires can go flat for reasons completely unrelated to their

defects”).

      For example, one plaintiff’s shudder complaint was caused by imbalanced

tires, not a transmission issue. Sinclair Repair Order, R.245-19, PageID.17434.

Another plaintiff’s “banging noise” was “due to driving with newer tires in the front

and bald tires in the rear,” not his transmission. McQuade Repair Order, R.245-20,

PageID.17436. And even plaintiffs’ expert found it “[d]ifficult to deduce” whether

what plaintiff Speerly described as shudder was caused by “tire balance or shudder.”

McVea Report, R.180-1, PageID.8399.

      Second, the district court suggested manifestation was not a concern because

(1) every named plaintiff testified their vehicle had experienced “one or both alleged

defects” and (2) “the defect…can be expected to afflict every class vehicle sold

within its useful lifetime.” Speerly, 343 F.R.D. at 522. But the former is irrelevant

to whether every absent class member can establish injury in fact. The latter is based

on Dr. Wachs’ future warranty complaint predictions which hinge on plaintiffs’

now-abandoned one-common-defect theory. See Statement of the Case § B.1.

Plaintiffs’ liability theory (the one certified by the district court) turned on the

existence of two distinct defects causing two different sets of symptoms.

      Finally, the district court erred by not resolving the issue of defect

manifestation law on a state-by-state basis or analyzing the impact of that law on

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Rule 23(b)(3)’s predominance requirement. Brown, 817 F.3d at 1238 (reversing

where district court did not resolve “questions of state law” that “bear on

predominance”); Tershakovec v. Ford Motor Co., Inc., 79 F.4th 1299, 1307 (11th

Cir. 2023) (reversing certification where district court failed to rigorously analyze

Texas law).

      Simply put, the defect-manifestation issues here, whether viewed as an Article

III or a state-law problem, preclude class certification. There are too many

individualized issues across too many class members, and they vastly outnumber the

common ones and will dominate any class proceedings.

II.   THE DISTRICT COURT ERRED BY CERTIFYING CLASSES
      WHERE INDIVIDUAL ISSUES PREDOMINATE.

      “What matters to class certification…is not the raising of common

‘questions’—even in droves—but rather, the capacity of a classwide proceeding to

generate common answers apt to drive the resolution of the litigation.” Wal-Mart,

564 U.S. at 350. The text of Rule 23(b)(3) “requires a court to add up all the suit’s

common issues (those that the court can resolve in a yes-or-no fashion for the class)

and all of its individual issues (those that the court must resolve on an individual-

by-individual basis). A court must then qualitatively evaluate which side

‘predominates’ over the other.” Fox, 67 F.4th at 300 (internal citation omitted).

      The district court did not perform this required rigorous analysis. Instead, it

assumed away or left for another day the most difficult predominance problems. The

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district court dismissed key questions about “individualized reliance” and

“individualized…causation” as “ancillary issues,” concluding without any real

analysis that the common issues it identified would predominate. Speerly, 343

F.R.D. at 508-09. It also concluded that certification was appropriate because it

could resolve what it determined were “common questions” about merchantability,

GM’s knowledge, and materiality, which it predicted “will feature prominently in

the disposition of this case.” Id. at 508. But the district court did not certify a Rule

23(c)(4) issues class, nor could it have under Ford. Even if certification could resolve

some common issues, that is not enough under Rule 23 where many important,

factually complex individualized issues would remain unresolved. Sandusky, 863

F.3d at 468.

      A.       The Certification Opinion Did Not Meaningfully Address Or
               Analyze The Impact Of Two Distinct Alleged Defects.

      Plaintiffs claim that “shudder” and “shift quality” are “two distinct defects.”

Transcript, R.272, PageID.20263. But the certification opinion does not address

whether the distinct defects “made a difference as to each of plaintiffs’ theories.” In

re Ford, 86 F.4th at 728. Instead, the district court lumped the defects together as a

“duo of common defects.” Speerly, 343 F.R.D. at 504; id. at 522 (“one or both

alleged defects”). As this Court recently held in Ford, where analysis of the impact

of distinct defect theories was “all but absent,” the certification decision cannot

stand. 86 F.4th at 728. Without addressing plaintiffs’ “two distinct theories of design

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defect,”—which implicate different causes, manifestation rates, remedies, and

knowledge across the class period—the opinion cannot satisfy the heightened

predominance showing required for a Rule 23(b)(3) class. See Sandusky, 863 F.3d

at 468.

      First, as in Ford, the district court’s “surface-level approach” to the distinct

defects left unresolved the variability and individualized issues related to GM’s

“knowledge of any defect and the materiality of that defect.” In re Ford, 86 F.4th at

728. Further, also as in Ford, the district court did not analyze whether continuous

improvements over time or “design changes affected [transmission] performance to

a degree that would have made a difference to a consumer—that is, that the

materiality of any defect lessened” in later model years, or whether it affected the

amount of damages appropriate under an “overpayment” theory or otherwise. Id.

Compounding these issues, the opinion references only plaintiffs’ briefed plaintiff-

specific facts and includes only a single reference to any GM expert.

      Second, the problem is exacerbated here because, as plaintiffs agree, GM’s

free, in-warranty Mod1A transmission fluid change eliminated the alleged shudder

defect. Lange Report, R.220-3, PageID.14432-33, 14569-72; Certification Motion,

R.222, PageID.15389. But the district court’s opinion does not “grapple with

whether” this fix “made any material difference to the class’s alleged defect” or

damages. In re Ford, 86 F.4th at 728. Nor does it grapple with the dozens of GM

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TSBs throughout the class period recommending repairs that remedied some, but not

all, class members’ transmission issues. Eichmann Report, R.179-2, PageID.8189

(estimating that among all vehicles with transmission repairs, only 35.1% returned

for second repairs, and fewer than 5% returned for a third).

      Third, the failure to address the two distinct alleged defects infects multiple

aspects of the case. For example, plaintiffs’ counsel told Dr. Wachs (who predicted

future claims rates) to assume (erroneously) that shudder and shift quality

complaints were symptoms of a single defect. Wachs Report, R.182-1, PageID.8793

(“I understand from counsel that both shudder and harsh shift are symptoms of the

same faulty friction system”). But this is not plaintiffs’ defect theory. Because the

district court relied on Dr. Wachs to find common issues supporting certification,

this fundamental error cannot be brushed away as a merits issue or one “going to

weight.” The district court erred by not addressing this foundational issue. See Coffey

v. Dowley Mfg., Inc., 187 F. Supp. 2d 958, 976 (M.D. Tenn. 2002) (“Like a house of

cards, once those foundations are disproved, the whole analysis collapses.”), aff’d,

89 F. App’x 927 (6th Cir. 2003).

      B.     The District Court Did Not Meaningfully Address Or Analyze
             Uncommon And Individualized Evidence Regarding The Existence
             Or Perception Of The Alleged Defects.

      This Court and others have rejected certification where, as here, proof of

plaintiffs’ claims “will differ depending upon the model and the year,” the subjective


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experience of each class member, and whether that experience is proximately caused

by an alleged design defect. In re Am. Med. Sys., Inc., 75 F.3d 1069, 1081 (6th Cir.

1996) (no predominance where various models had design or manufacturing

changes); In re Bridgestone/Firestone, Inc., 288 F.3d 1012, 1019 (7th Cir. 2002)

(holding a “once-and-for-all decision about whether all 60 million tires were

defective” was “not possible” where plaintiffs claimed three defects in 67 tire

models); Robinson v. Gen. Elec. Co., 2016 WL 1464983, at *6-7 (E.D. Mich. Apr.

14, 2016) (holding plaintiffs “glosse[d] over the fact that each model is made up of

numerous component parts, the design of which is not uniform across the different

models”).

      Whether class members notice, report, or care about either symptom that

could be caused by the alleged “shudder” and “shift quality” defects rests on

subjective perceptions and experiences. The named plaintiffs confirm this, including

one who testified his vehicle vibration is “[n]ot to any degree more significant than

I think other vehicles vibrate.” Eatherton Dep., R.245-59, PageID.19160. Whether

other class members would claim that same level of vibration to be a shudder defect

requires individual fact inquiries and individual proof.

      Layered onto plaintiffs’ subjective defect theories are 44 vehicle combinations

with different types of vehicles (small sports cars to large trucks) built on different

vehicle platforms, each with an 8-speed transmission that changed over the years

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with different hardware, software, and calibrations for each vehicle type and MY.

These transmissions are built and perform differently, as the starkly different

warranty rates confirm. See Beatty v. Ford Motor Co., 2021 WL 3109661, at *11

(W.D. Wash. July 8, 2021) (denying certification where, as here, design differences

in component resulted in “statistically significant variations among the” warranty

claim rates across class vehicles). Again, inspections of the named plaintiffs’

vehicles undercut any common classwide defect. Plaintiffs’ expert could identify a

shudder issue in only half the vehicles, and GM’s expert found no transmission

issues in nearly two-thirds of them. Kuhn Report, R.178-15, PageID.7882.

      In short, the district court’s conclusion that “the problematic elements of the

8L design are universal and inherent despite any such variations,” Speerly, 343

F.R.D. at 525, “does not a rigorous analysis make,” particularly where, as here, “the

class alleged two distinct theories of design defect.” In re Ford, 86 F.4th at 728. The

record evidence shows the exact opposite, and the certification order should be

reversed. Id. at 727 (existence of defect is “only ‘common’ if the same malfunction

could have corrupted the brake cylinders of all the relevant F-150 model years”); see

also Neale v. Volvo Cars of N. Am., LLC, 2021 WL 3013009, at *10 (D.N.J. July 15,

2021); Sanneman v. Chrysler Corp., 191 F.R.D. 441, 449, 451 (E.D. Pa. 2000); In

re Ford Motor Co. Ignition Switch Prod. Liab. Litig., 194 F.R.D. 484, 490 (D.N.J.

2000).

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      C.     The District Court Erred By Failing To Address Other Substantive
             Variations In State Law, Including Individualized Evidentiary
             Requirements.

      The district court summarily drew distinctions between class and merits issues

on essential elements of many class claims. Speerly, 343 F.R.D. at 525. But the

Supreme Court rejected this approach to class certification more than a decade ago

in Wal-Mart, emphasizing that a court must consider a party’s “merits contention”

where it is the “crux of the inquiry.” 564 U.S. at 351. The district court erred by

failing to address these core merits issues that are “crux of the inquiry” and show the

claims cannot be proven on a classwide basis. Id.

             1.     Express Warranty Claims Require Individualized Evidence
                    Of Both Present And Inadequate Repair.

      The district court certified express warranty claims under the laws of 17 states,

holding common questions of whether a class member sought repair under the terms

of GM’s limited written warranty and whether GM failed to adequately repair the

vehicle after reasonable attempts were “merits issues that are irrelevant at this stage.”

Speerly, 343 F.R.D. at 525. This is wrong. If a class member did not seek or give

GM an opportunity to repair, GM cannot be liable on an express warranty theory.

See, e.g., Platt v. Winnebago Indus., Inc., 960 F.3d 1264, 1271 (10th Cir. 2020)

(applying Colorado law) (“Winnebago did not breach the warranty” because the

plaintiffs did not give it an “opportunity to perform repair.”); BAE Sys. Info. & Elecs.

Sys. Integration, Inc. v. SpaceKey Components, Inc., 752 F.3d 72, 78 (1st Cir. 2014)

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(applying New Hampshire law) (affirming summary judgment where plaintiff did

not “invoke any of the limited remedies, and . . . gave [defendant] no opportunity to

make good on same.”).7

      The district court nods to this issue by suggesting it might later “cull” class

members who “never sought repairs.” Speerly, 343 F.R.D. at 523. But a future

“cull[ing]” process does not cure the Rule 23(b)(3) predominance problem here. The

district court vaguely suggests this would involve some analysis of “sales,

registration, and warranty service data.” Id. But that data itself encompasses

countless variables, and it would not eliminate the host of individualized issues,

including whether a claim was related to an alleged defect (as opposed to some other

transmission issue or alternative cause of shudder/shift issues), and the adequacy and

reasonableness of repair efforts. In short, culling the class would necessitate

countless individualized inquiries and different evidence—none of which the district

court considered or addressed before finding common issues predominated here.

      Moreover, a passing reference to a future culling procedure does not “forecast

how the parties will conduct the litigation from the certification stage through the




7
 See also, e.g., Harman v. Taurus Int'l Mfg., Inc., 661 F. Supp. 3d 1123, 1128 (M.D.
Ala. 2023); Snyder v. Komfort Corp., 2008 WL 2952300, at *4 (N.D. Ill. July 30,
2008); Daigle v. Ford Motor Co., 713 F. Supp. 2d 822, 827 (D. Minn. 2010); Hole
v. Gen. Motors Corp., 442 N.Y.S. 2d 638, 640 (N.Y. App. Div. 1981); Draffin v.
Chrysler Motors Corp., 166 S.E.2d 305, 308 (S.C. 1969).
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trial to the final judgment.” Fox, 67 F.4th at 302. It also ignores other related

individual factual determinations necessary to determine liability such as repair

efforts. See, e.g., Becker v. Cont’l Motors, Inc., 709 Fed. App’x 263, 266-67 (5th

Cir. 2017) (Texas law) (holding plaintiffs “must show not only that the product was

presented to the defendant for repair but also that the defendant failed or refused to

repair the defect); Monticello v. Winnebago Indus., Inc., 369 F. Supp. 2d 1350, 1360

(N.D. Ga. 2005) (“It is the refusal to remedy within a reasonable time, or a lack of

success in the attempts to remedy which would constitute a breach of warranty.”).

      This question turns on individual answers and uncommon facts as to the

specific circumstances of each class member. For example, if GM attempted a repair

(e.g., replacing the torque converter or flushing the transmission fluid) and the class

member believed the repair was inadequate, their claim fails absent proof they

voiced their dissatisfaction and provided GM an additional reasonable repair

opportunity. See Simpson v. Hyundai Motor Am., Inc., 603 S.E.2d 723, 727 (Ga. Ct.

App. 2004) (affirming summary judgment where plaintiffs received repairs but “did

not return to an authorized dealer for the purpose of allowing a final attempt to

repair”); Myrtle v. Gen. Motors Corp., 106 A.D.2d 883 (N.Y. Sup. Ct. App. Div.

1984) (similar).8


8
  Because warranty repairs could resolve many issues (as plaintiffs admit Mod1A
did for shudder claims), treating these claims together would result in breach of

                                          41
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      Owners also may refuse repairs as multiple named plaintiffs did. One plaintiff

instructed his dealership that “they were not under any circumstances to perform any

repairs to the transmission” because it might affect his interest in this lawsuit. Banks

Deposition, R.245-13, PageID.17109. Another plaintiff also refused a recommended

warranty repair. Ellard Deposition, R.245-11, PageID.17087-92.

      These two liability questions of presentment and repair cannot be answered

on a classwide basis with common evidence, rendering certification improper. See,

e.g., Neale, 2021 WL 3013009, at *18 (denying certification of express warranty

class because “each class member must still separately prove that they discovered

the Sunroof Defect during the warranty period, that they requested repairs related to

the Sunroof Defect, and that Defendants denied such repairs”); Sanchez-Knutson v.

Ford Motor Co., 2016 WL 11783302, at *4 (S.D. Fla. July 25, 2016) (decertifying

Florida express warranty class); Galitski v. Samsung Telecomc’ns Am., LLC, 2015

WL 5319802, at *9 (N.D. Tex. Sept. 11, 2015) (denying certification of Texas

express warranty claim).

      This Court’s prior decisions in Daffin v. Ford Motor Co., 458 F.3d 549, 554

(6th Cir. 2006), and In re Whirlpool, 722 F.3d at 859, do not support deferring these

questions until some later post-certification proceeding. Plaintiffs’ express warranty



warranty claims even for those whose warranty was satisfied (and not breached) by
a free and effective repair.
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claims here are not “sufficiently cohesive to warrant adjudication by representation.”

Amgen, 568 U.S. at 469. That is, the “crux of the inquiry”—whether the class

member sought to enforce their vehicle’s limited written warranty and GM failed to

live up to it—is not susceptible to common proof and will not “produce a common

answer.” Wal-Mart, 564 U.S. at 352. These “fatal dissimilarit[ies] among the

members of the certified class” render class treatment of these claims both “unfair”

and “inefficient.” In re Whirlpool, 722 F.3d at 859 (quoting Amgen, 568 U.S. at 470).

      The express warranty claims should be decertified.

             2.     The District Court Overlooked State Law Variations In
                    Class-Defeating Elements Of Reliance And Causation.

      The district court held that certification was appropriate because “proof of

individualized reliance on alleged misstatements or omissions” is either “not

required or will not predominate over the common issues in each state.” Speerly, 343

F.R.D. at 509. But in at least 19 of the 26 certified states, some or all claims require

proof of individual reliance or causation, including: Arizona (ACFA), Arkansas

(ADTPA), Kansas (KCPA), Kentucky (express warranty), Louisiana (fraud), Maine

(MUTPA), New York (express warranty), North Carolina (NCUDTPA),

Pennsylvania (UTPCPL), Tennessee (fraud), Texas (express warranty and DTPA),




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and Washington (WCPA) require proof of reliance,9 while other claims in Alabama

(ADTPA), Florida (FDUTPA), Illinois (ICFA), Kentucky (KCPA), Michigan

(MCPA), Minnesota (CPA), New Hampshire (NHCPA), New Jersey (NJCPA), New

York (NYGBL § 349), Oklahoma (OCPA), Tennessee (TCPA), and Wisconsin

(WDTPA) require proof of causation.10



9
 Schellenbach v. GoDaddy.com, LLC, 321 F.R.D. 613, 624 (D. Ariz. 2017) (Arizona
CFA); Apex Oil Co. v. Jones Stephens Corp., 881 F.3d 658, 662 (8th Cir. 2018)
(Arkansas DTPA); Delcavo v. Tour Res. Consultants, LLC, 2022 WL 1062269, at
*8 (D. Kan. Apr. 8, 2022); Overstreet v. Norden Lab'ys, Inc., 669 F.2d 1286, 1291
(6th Cir. 1982) (Kentucky law); In re Ford Motor Co. Vehicle Paint Litig., 1997 WL
539665, at *2 (E.D. La. Aug. 27, 1997); Larsen v. Vizio, Inc., 2017 WL 3084273, at
*4 (C.D. Cal. June 26, 2017) (Maine law); Martin v. Ford Motor Co., 292 F.R.D.
252, 273 (E.D. Pa. 2013) (New York law); Solum v. Certainteed Corp., 147 F. Supp.
3d 404, 411 (E.D.N.C. 2015); Abraham v. Ocwen Loan Servicing, LLC, 321 F.R.D.
125, 193 (E.D. Pa. 2017); Tershakovec v. Ford Motor Co., 79 F.4th 1299, 1313 (11th
Cir. 2023) (Texas DTPA); Gen. Motors Corp. v. Garza, 179 S.W.3d 76, 82 (Tex.
App. 2005) (express warranty); Eng v. Specialized Loan Servicing, 500 P.3d 171,
181 (Wash. App. Ct. 2021).
10
   EBSCO Indus. v. LMN Enter., 89 F. Supp. 2d 1248, 1265 (N.D. Ala. 2000);
Bennett v. Quest Diagnostics, Inc., 2023 WL 3884117, at *13 (D.N.J. June 8, 2023)
(Florida law); Bledsoe v. FCA US LLC, 663 F. Supp. 3d 753, 774 (E.D. Mich. 2023)
(Illinois law); Corder v. Ford Motor Co., 869 F. Supp. 2d 835, 838 (W.D. Ky. 2012);
In re OnStar Cont. Litig., 278 F.R.D. 352, 377 (E.D. Mich. 2011); Johannessohn v.
Polaris Indus., Inc., 450 F. Supp. 3d 931, 951 (D. Minn. 2020); Lawrence v. Philip
Morris USA, Inc., 53 A.3d 525, 530 (N.H. 2012); Marcus, LLC, 687 F.3d at 606
(New Jersey law); In re Ford Motor Co. E-350 Van Prod. Liab. Litig. (No. II), 2012
WL 379944, at *14 (D.N.J. Feb. 6, 2012) (New York law); Patterson v. Beall, 19
P.3d 839, 847 (Okla. 2000); Steamfitters Loc. Union No. 614 Health & Welfare Fund
v. Philip Morris, Inc., 2000 WL 1390171, at *7 (Tenn. Ct. App. Sept. 26, 2000);
Valenti v. Hewlett Packard Co., 685 N.W.2d 172 (Wis. App. Ct. 2004); Tietsworth,
677 N.W.2d at 245 (Wisconsin DTPA requires loss “as a result” of “affirmative
assertions” and does not allow claim for failure to disclose alleged defect).
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      Whether a plaintiff can “prove causation and/or reliance on a classwide basis”

is a question of state law. Rikos v. Procter & Gamble Co., 799 F.3d 497, 512 (6th

Cir. 2015); see also Tershakovec, 79 F.4th at 1307 (holding “presumption-of-

reliance issue” requires “carefully examining the particular state laws” to determine

if state law “allows for that presumption”). Here, the district court erred when it

failed to rigorously analyze whether each state law claim permits a classwide

inference or presumption of reliance/causation at all or only under certain

circumstances, whether those circumstances exist here, and whether any inference

or presumption is subject to GM’s right to present individual rebuttal evidence.

      For example, in granting certification of Tennessee and Texas claims with a

reliance element, the district court cited Tershakovec v. Ford Motor Co., 546 F.

Supp. 3d 1348 (S.D. Fla. 2021), which held that reliance could be proven on a

classwide basis. Speerly, 343 F.R.D. at 550-51. But the Eleventh Circuit has since

confirmed both certifications were reversible error because neither state permits

classwide presumptions or inferences of reliance. Tershakovec, 79 F.4th at 1313-14.

             3.    The District Court Ignored State Law Variations In
                   Merchantability.

      The district court was also wrong to hold merchantability is an “entirely

objective inquiry” across all states. Speerly, 343 F.R.D. at 512. Numerous states like

Florida, Georgia, New Jersey, Maine, and Minnesota reject individual implied

warranty claims where a vehicle has been driven extensively without issue or with

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issues that do not render the vehicle inoperable. E.g., Soto v. CarMax Auto

Superstores, Inc., 611 S.E.2d 108, 110 (Ga App. Ct. 2005) (holding 25,000 miles of

use “inherently negates” unmerchantability claim and “continuing vibration at speed

of 65-70 miles per hour” did “not rise to the level of a defect making the Blazer

unmerchantable, even if never repaired”).11

      Every certified implied warranty class includes members whose vehicles also

well serve their “intended purpose.” For example, one plaintiff (who refused the

Mod1A transmission flush under warranty) admits his vehicle does not vibrate to

“any degree more significant[ly] than I think other vehicles vibrate.” Eatherton Dep.,

R.245-59, PageID.19160. Another plaintiff, who had accumulated around 180,000

miles over five years, declined an offer to replace his transmission. McVea Report,

R.180-1, PageID.8400; Kuhn Report, R.178-15, PageID.7892; Ellard, R.245-11,

PageID.17090-92.

      And plaintiffs’ claim that the vehicles are unmerchantable is contradicted by

the dozens of named plaintiffs who sold their vehicles during the litigation for

premium prices without disclosing any transmission or their concerns.




11
  See also Suddreth v. Mercedes-Benz, LLC, 2011 WL 5240965, at *4 (D.N.J. Oct.
31, 2011); Tellinghuisen v. Chrysler Grp., LLC, 2014 WL 4289014, at *3 (Minn. Ct.
App. Sept. 2, 2014); Kia Motors Am. Corp. v. Butler, 985 So. 2d 1133, 1138 (Fla.
Dist. Ct. App. 2008); Mazerolle, 2002 WL 31367215, at *5; Gordon v. Ford Motor
Co., 260 A.D.2d 164, 165 (N.Y. App. Div. 1999).
                                         46
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      The district court’s failure to rigorously analyze merchantability on a state-

by-state basis before conducting its predominance analysis is reversible error.

             4.     The District Court Did Not Apply State Substantive Bars On
                    Class Actions.

      The district court violated the Rules Enabling Act in certifying classes under

the Alabama DTPA, Arkansas DTPA, Louisiana UTPCPL, and the Tennessee CPA

where substantive state law prohibits private class actions within the same statutory

provision creating a private right of action for individual consumers. See Ala. Code

§ 8-19-10(f); Ark. Code Ann. § 4-88-113(f)(1)(B); La. Stat. Ann. § 51:1409(A);

Tenn. Code Ann. § 47-18-109(g). This Court previously assumed without deciding

that a “prohibition on class-action litigation” that “appears within the same statutory

provision that creates the private cause of action” is “substantive for the purposes of

the Rules Enabling Act.” Whitlock v. FSL Mgmt., LLC, 843 F.3d 1084, 1092-93 (6th

Cir. 2016). The Court now should confirm that the Sixth Circuit adheres to the

controlling portions of the Supreme Court opinions holding these laws are “so bound

up with the state-created right or remedy that it defines the scope of that substantive

right or remedy” and thus trump Rule 23. Shady Grove Orthopedic Associates, P.A.

v. Allstate Ins. Co., 559 U.S. 393, 420 (2010) (Stevens, J., concurring); see also

Albright v. Christensen, 24 F.4th 1039, 1044 (6th Cir. 2022) (holding Justice

Stevens’s Shady Grove concurrence is controlling).



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            5.     The District Court Ignored Individualized And Uncommon
                   Differences Among Current And Former Owners.

      The district court certified 19 classes limited to new purchasers—“[a]ll

original purchasers who purchased…new class vehicles;” and another 7 containing

“[a]ll purchasers” in the ownership chain—new and used alike—up to and including

“current owners.” Speerly, 343 F.R.D. at 526-30. All 26 classes improperly include

individuals who resold their class vehicle, passing any purported economic injury

and damages to the next buyer. This is improper. See In re Volkswagen “Clean

Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 500 F. Supp. 3d 940, 948 (N.D.

Cal. 2020) (holding putative class members who resold vehicles into unknowing

market lacked standing), aff’d sub nom. Schell v. Volkswagen AG, 2022 WL 187841

(9th Cir. Jan. 20, 2022); In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp.

3d 372, 403 (S.D.N.Y. 2017) (a “then-unknown defect could not have affected the

resale price”), modified on reconsideration, 2017 WL 3443623 (S.D.N.Y. Aug. 9,

2017). The district court’s sole reliance on Carriuolo v. Gen. Motors Co., 823 F.3d

977 (11th Cir. 2016), to reject resale as “immaterial” was another mistake. Speerly,

343 F.R.D. at 526. Carriuolo was limited to Florida law and does not control in all

26 states where the law differs. E.g., Avery v. State Farm Mut. Auto Ins. Co., 835

N.E.2d 801, 859 (Ill. 2005) (plaintiff who resold vehicle without disclosing alleged

defect had no “actual damage” because he “received the same value for the truck

that he would have had” the vehicle had no defect). And the seven state classes that

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include everyone who purchased from a GM dealer (new or used) risks a “double-

recovery” for the same alleged defect in the same vehicle by two different owners—

another problem that the district court was required to “explain how it plan[s] to

handle” but did not. Fox, 67 F.4th at 302.

      D.     The District Court’s Disregard Of Predominant Individualized
             Issues At Certification Cannot Be Cured With An Undefined
             “Culling” Procedure At An Unspecified Point In The Future.

      The district court said it would, at some unidentified future time, “identify and

cull” from the classes individuals who “never had any problems with their vehicles

or never sought repairs” or whose claims are barred under substantive state law for

other reasons. Speerly, 343 F.R.D at 523. But this further highlights the

predominance problem. Fox, 67 F.4th at 302; Sandusky, 863 F.3d at 468; In re Ford,

86 F.4th at 729 (district courts must “actually decide” questions relevant to

certification); Tarrify, 37 F.4th at 1110 (rejecting plans requiring mini-trials).

      Excluding individuals who have “never had any problems” or “never sought

repairs,” is already an overwhelming task. “[F]iltering out those members” to whom

GM is not liable “would undoubtedly be the driver of the litigation” and spawn time-

consuming mini hearings on individual factual issues. Sandusky, 863 F.3d at 468;

see also Fox, 67 F.4th at 301-02 (predominance inquiry must consider “different

defenses against different class members”); In re Gen. Motors Corp. “Piston Slap”

Prod. Liab. Litig., 2006 WL 1049259, at *6-7 (W.D. Okla. Apr. 19, 2006) (holding


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classes were not “susceptible of reasonable determination” where identifying

vehicles manifesting defects “would necessarily require far more complex,

individualized determinations than a simple claims procedure could practically

accomplish”); Sanneman, 191 F.R.D. at 446 (similar).

      Moreover, resorting to an undefined, but undoubtedly onerous, culling

mechanism raises even more Rule 23 problems, including plaintiffs’ failure to meet

their burden to show that a “class action is superior to other available methods for

fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Class

treatment is not a superior method where limited common issues exist but there are

a “necessary number of individual inquiries” that would not be uniformly resolved

based on the representative’s claims. Pipefitters Loc. 636 Ins. Fund v. Blue Cross

Blue Shield of Michigan, 654 F.3d 618, 631-32 (6th Cir. 2011); see also Robinson v.

Gen. Elec. Co., 2016 WL 1464983, at *15 (E.D. Mich. Apr. 14, 2016) (class action

not superior where there are not “enough similarities that a uniform decision is

likely”).

      Nor does the district court explain how it will try all claims to final judgment,

saying only that “[a]ny logistical challenges” and a “state-by-state structure” will

“be addressed by appropriate trial scheduling.” Speerly, 343 F.R.D. at 526. But this

does not “forecast how the parties will conduct the litigation from the certification

stage through the trial to the final judgment.” Fox, 67 F.4th at 302; see also

                                         50
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Tershakovec, 79 F.4th at 1316 (holding court must “clearly articulate a plan” for trial

prior to certification); Robinson v. Tex. Auto Dealers Ass’n, 387 F.3d 416, 426 (5th

Cir. 2004) (holding “figure-it-out-as-we-go-along approach” is reversible error).

       In sum, the Court should reject the district court’s plan to certify now and wait

until later to figure out how to address and overcome the many individualized issues

that will drive resolution of each class member’s claims. The Court should reverse

the certification order.

III.   THE DISTRICT COURT ERRED BY RELYING ON CLASSWIDE
       DAMAGES MODELS THAT OBSCURE OR IGNORE INDIVIDUAL
       ISSUES AND COMPENSATE UNINJURED CLASS MEMBERS.

       The district court accepted plaintiffs’ suggestion to resolve the myriad

individualized and uncommon fact and legal issues by relying on proffered expert

opinions and models both to (i) try to establish an overpayment injury and (ii) to

create a metric to pay everyone in the class. This was yet another error.

       First, plaintiffs’ economist (Eichmann) calculated average overpayment and

diminution-in-value damages based on the single-defect theory that plaintiffs later

abandoned in favor of the two-distinct-defects theory. See, e.g., Eichmann Report,

R.179-2, PageID.8192, 8201-02. His market simulation relies on plaintiffs’ survey

expert (Samantha Iyengar) who (like Dr. Wachs) operated under the obsolete single-

defect assumption. Iyengar Report R.170-5, PageID.5578. Plaintiffs’ damages

models cannot reliably determine classwide damages because, among other things,


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they do not reflect plaintiffs’ liability theory and thus do not “measure only those

damages attributable to that theory,” as required by Comcast, 569 U.S. at 35.

      Second, Tyson Foods also requires exclusion of Eichmann’s average injury-

and-damages opinions.12 An individual plaintiff would need to offer his own proof

of injury and damages, not merely to show that some people in a class were injured

and he is a member of that class. Plaintiffs cannot show each class member has

suffered injury by “simply relying on assumptions about the general population.”

Rowe v. E.I. duPont de Nemours and Co., 2008 WL 5412912, *14 (D.N.J. Dec. 23,

2008). “[I]f there is no way to ensure that the jury’s damages award goes only to

injured class members, that award cannot stand.” Tyson Foods, 577 U.S. at 466

(Roberts, C.J., concurring). Eichmann’s calculations do not provide a method for

any class member to prove individual damages. Fox, 67 F.4th at 301 (holding district

court must consider whether the “damages method necessitates fact-specific

evidence”). Indeed, he admits that any recoverable damages for class members differ

depending upon make, MY, the purchase transaction, and other factors. Eichmann

Deposition,   R.245-39,    PageID.18523-25;       Eichmann        Schedules,   R.206-2,




12
  Reliance on Dr. Wachs to create classwide damages also violates Tyson Foods.
She predicts one nationwide rate for all vehicles in each segment (e.g., all MY 2015-
2019 Luxury Sport cars), which are not representative of the risk of failure of a
specific vehicle in a particular state (e.g., a 2018 Arizona Corvette vs. a 2019 New
York Corvette) and thus could not be used to prove damages in an individual case.
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PageID.12292-93. He further admits some absent class members have no injuries.

Eichmann Dep., R.245-39, PageID.18522. This is consistent with the conclusions of

GM’s expert, who analyzed actual market prices and found no evidence of any

common impact on prices. Hitt Report, R.245-37, PageID.18461-67, 18472-81.

      In short, Plaintiffs offer no path to proving individual class member damages,

not even “mechanical calculations [that] could allow the maintenance of the class

action.” Fox, 67 F.4th at 301.

      Third, plaintiffs’ experts’ models also violate GM’s due process rights by

stripping GM of its substantive rights to defend against persons whose vehicles have

performed as bargained-for, or have been repaired under warranty, or will yet be

repaired under warranty if a defect manifests, or who did not overpay, or who

otherwise suffered no damages. Johannessohn, 9 F.4th at 986 (affirming

certification denial because “cases are not tried on the evidence of one party” and

defendant is “entitled to present contrary evidence suggesting the price premium

theory does not appropriately provide proper damages figures for each specific class

member”); Gregory v. Dillard’s, Inc., 565 F.3d 464, 469 (8th Cir. 2009); Broussard

v. Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 345 (4th Cir. 1998); 2

MCLAUGHLIN ON CLASS ACTIONS § 8:16 (19th ed. 2022).

      Such “an aggregate determination is likely to result in an astronomical

damages figure that does not accurately reflect the number of plaintiffs actually

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injured by defendants and that bears little or no relationship to the amount of

economic harm actually caused by defendants.” McLaughlin v. Am. Tobacco Co.,

522 F.3d 215, 220-221, 231 (2d Cir. 2008), abrogated in part on other grounds by

Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008); see In re Asacol

Antitrust Litig., 907 F.3d 42 (1st Cir. 2018).

IV.   THE DISTRICT COURT ERRED BY FINDING GM WAIVED ITS
      ARBITRATION   RIGHTS  AGAINST   NON-PARTIES   AND
      CERTIFYING CLASSES COMPOSED OF 40% OR MORE OF
      MEMBERS WHO AGREED TO ARBITRATE THEIR CLAIMS.

      It is likely that 40% of absent class members executed arbitration agreements.

These are not uniform, GM-generated agreements; each has different terms and was

included in different purchase transactions. See, e.g., Arbitration Agreements,

R.245-58, PageID.19073-134. Depending on the terms and state-law, GM has a right

to seek to enforce many of these arbitration agreements, even though plaintiffs bring

the case as a class action. See Federal Arbitration Act, 9 U.S.C. §§ 1-16; American

Exp. Co. v. Italian Colors Rest., 570 U.S. 228 (2013).

      The district court, despite inviting GM to address the issue of arbitration “in

[its] response to the class cert motion,” Transcript, R.167, PageID.5476, held that by

moving in 2019 to dismiss the then-named plaintiffs, GM had waived any arbitration

rights it might have as to all 800,000+ absent members in the putative classes.

Speerly, 343 F.R.D. at 524-25. This is reversible error.



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      As a gating issue, the “argument that a nonnamed class member generally ‘is

a party to the class action litigation before the class is certified,’ is—to use the

Supreme Court’s words—‘surely erroneous.’” In re Hall, 4 F.4th 376, 379 (6th Cir.

2021) (quoting Smith v. Bayer Corp., 564 U.S. 299, 313 (2011)). Until absent class

members are legally before the court, a defendant can neither compel them to

arbitration nor waive its rights to do so. See, e.g., In re Checking Acct. Overdraft

Litig., 780 F.3d 1031, 1037 (11th Cir. 2015) (district court lacked jurisdiction to

adjudicate defendant’s right to compel absent class members to arbitration); Forby

v. One Techs., LP, 2020 WL 4201604, at *8 (N.D. Tex. July 22, 2020) (holding

waiver of arbitration against plaintiff “has no bearing on whether [defendants] can

compel the absent class members” because “the class members are not yet parties to

the litigation”); Hall v. Marriott Int’l, Inc., 344 F.R.D. 247, 269 (S.D. Cal. 2023)

(similar); In re Titanium Dioxide Antitrust Litig., 962 F. Supp. 2d 840, 853 (D. Md.

2013) (similar).13 Thus, contrary to the district court’s holding, there is “no authority

that requires a party to file a conditional arbitration motion against possible future

adversaries….in order to avoid waiving its rights with regard to those parties.”

Gutierrez v. Wells Fargo Bank, NA, 889 F.3d 1230, 1235 (11th Cir. 2018). Indeed,




13
   See also Chen-Oster v. Goldman, Sachs & Co., 449 F. Supp. 3d 216, 234
(S.D.N.Y. 2020); Jensen v. Cablevision Sys. Corp., 372 F. Supp. 3d 95, 123
(E.D.N.Y. 2019).
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had GM tried to compel absent class members to arbitration prior to class

certification, “it would have been impossible in practice” and “jurisdictionally

impossible” for the district court to do so. Id. The certification order thus should be

reversed because it abridges GM’s substantive rights to compel arbitration. See

American Express, 570 U.S. at 234 (indicating use of Rule 23 to invalidate private

arbitration agreements would “likely” violate the Rules Enabling Act).

      The district court’s erroneous waiver ruling also prevented it from assessing

predominance-destroying questions about differences in the existence, terms, and

enforceability of arbitration agreements—leaving “no idea how many class members

might face” the defense. Fox, 67 F.4th at 301. Nor is it known how many questions

of arbitrability will be delegated to an arbitrator. See Arbitration Agreements, R.245-

58, PageID.19096. The district should have analyzed whether the fact that “certain

members of a class are subject to contracts containing an arbitration clause, while

other class members are not,” defeating predominance. See Hooker v. Citadel

Salisbury LLC, 2023 WL 3020967, at *14 (M.D.N.C. Apr. 20, 2023); Forby, 2020

WL 4201604, at *8-9 (similar); Spotswood v. Hertz Corp., 2019 WL 498822, at *11

(D. Md. Feb. 7, 2019) (similar).

      The Court should reverse certification for this reason as well.




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                                   CONCLUSION

      For the foregoing reasons, this Court should reverse the district court’s

certification order and decertify each of the 26 certified classes.

Dated: February 14, 2024                    Respectfully submitted,

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       CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
     LIMITATION, TYPEFACE, AND TYPE STYLE REQUIREMENT

      1.     This petition complies with the type-volume limitation of Fed. R. App.

P. 5(c)(1) because it contains 12,798 words excluding the parts exempted by Fed. R.

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P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it

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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 14, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Sixth

Circuit by using the Court’s CM/ECF system. This brief for was also served on

counsel for the parties of record on that same date.

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    DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

      GM designates the following documents from the district court’s record that

are relevant to this appeal:

 Record          Docket Text                                       Page ID Nos.
 Entry No.
                 Consolidated Amended Class Action
      41                                                           ## 2235 - 3135
                 Complaint
      87         Order of Partial Dismissal                        ## 4149 - 4150
      103        Order of Partial Dismissal                        ## 4339 - 4340
      119        Order of Partial Dismissal                        ## 420 - 4421
      155        Order of Partial Dismissal                        ## 5390 - 5391
                 Hearing Transcript on Motion for Leave to
      167                                                          ## 5467 - 5493
                 File Second Supplemental Complaint
     170-5       Expert Report of Samantha Iyengar, Ph.D.          ## 5573 - 5610
    175-10       Expert Report of Rose Ray, Ph.D.                  ##6403 - 6512
                 Deposition Excerpts of William Mark
    178-12                                                         ## 7693 - 7724
                 McVea, Ph.D.
    178-15       Expert Report of Robert Kuhn                      ## 7877 - 7913
                 William Mark McVea, Ph.D.’s Inspection
    178-16                                                         ## 7914 - 7925
                 Notes
     179-2       Expert Report of Richard J. Eichmann              ## 8170-8212
                 Expert Report of William Mark McVea,
     180-1                                                         ## 8293 -8417
                 Ph.D.
     182-1       Expert Report of Allise Wachs                     ## 8767 - 8832
     182-2       Deposition Excerpts of Allise Wachs               ## 8833 - 8893
    204-16       PX149 – Transmission Document                     ## 11766 - 11817
     206-2       Eichmann Schedules 1-36a and Appendix 1           ## 12259 - 12349
                 Expert Report of Robert C. Lange                  ## 14402 - 14606
     220-3
                                                                   (Redacted)
                 Plaintiffs’ Motion for Class Certification and
      222        Appointment of Class Representatives and          ## 15350 - 15413
                 Class Counsel
    225-10       Deposition Excerpts of Richard Filiaggi           ## 15972 - 15986
      234        Order of Partial Dismissal                        ## 16759
     245-3       Deposition Excerpts of Bill Goodrich              ## 16985 - 17002
     245-5       Deposition Excerpts of Robert Gonzales            ## 17012 - 17018

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Record         Docket Text                                      Page ID Nos.
Entry No.
   245-6       Deposition Excerpts of Peter Radecki             ## 17019 - 17031
               GM000046337, 8 Speed Compass/Warranty
   245-8                                                        ## 17058 - 17067
               improvement plan
  245-10       Deposition Excerpts of Donald Sicura             ## 17075 - 17082
  245-11       Deposition Excerpts of Jon Ellard                ## 17083 - 17093
  245-12       Deposition Excerpts of Dominic Eatherton         ## 17094 - 17100
  245-13       Deposition Excerpts of Michael Banks             ## 17101 - 17111
  245-15       Deposition Excerpts of Philip Weeks              ## 17119 - 17128
               Expert Report of Robert C. Lange,
  245-16                                                        ## 17129 - 17295
               Appendix 6
  245-19       Kevin Sinclair Repair Order                      ## 17433 - 17434
  245-20       Andre McQuade Repair Order                       ## 17435 - 17437
  245-21       Richard Filiaggi Inspection Report               ## 17438 - 17442
  245-22       Daniel Drain Inspection Report                   ## 17443 - 17445
  245-23       Deposition Excerpts of Joseph Sierchio           ## 17446 - 17451
  245-24       Deposition Excerpts of William Fredo             ## 17452 - 17457
  245-25       Deposition Excerpts of Richard Freeman           ## 17458 - 17467
  245-26       Deposition Excerpts of Robert Higgins            ## 17468 - 17478
  245-27       Deposition Excerpts of Donald Dykshorn           ## 17479 - 17484
  245-28       Deposition Excerpts of Jimmy Flowers             ## 17485 - 17490
               Compilation of Plaintiffs’ Varying
  245-31                                                        ## 17499 - 18428
               Descriptions of Shift Quality
  245-32       Deposition Excerpts of Brian Lloyd               ## 18429 - 18436
  245-33       Deposition Excerpts of Dennis Speerly            ## 18437 - 18444
  245-37       Expert Report of Lorin M. Hitt, Ph.D.            ## 18459 - 18485
               Expert Report of Samantha Iyengar, Ph.D.,
  245-38                                                        ## 18486 - 18507
               Schedule 1
  245-39       Deposition Excerpts of Richard Eichmann          ## 18508 - 18531
  245-40       Deposition Excerpts of Troy Coulson              ## 18532 - 18540
  245-41       Deposition Excerpts of Kimberly Coulson          ## 18541 - 18546
  245-49       Richard Filiaggi Invoice                         ## 18665 - 18666
  245-51       Expert Report of Lorin Hitt, Ph.D. Ex. 7         ## 18669 - 18673
               Compilation of Plaintiffs’ Price Negotiation
  245-52                                                        ## 18674 - 18862
               Testimony
  245-53       Compilation of Plaintiffs’ Sales Documents       ## 18863 - 19048
  245-58       Compilation of Plaintiffs' Arbitration Clauses   ## 19072 - 19134

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Record        Docket Text                                     Page ID Nos.
Entry No.
              Compilation of Plaintiffs Who No Longer
  245-59                                                      ## 19135 - 19201
              Experience, or Never Experienced Shudder
              2017 GMC Limited Warranty and Owner
  245-60                                                      ## 19202 - 19244
              Assistance Program
              Hearing Transcript on Motion for Class
    272                                                       ## 20257 - 20311
              Certification




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